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  5 MATTHEW STORMAN, IN PRO PER

  6

  7

  8                               UNITED STATES DISTRICT COURT

  9                              CENTRAL DISTRICT OF CALIFORNIA

 10 NINTENDO OF AMERICA INC.,                           )   Case No. 2:19-CV-07818-CBM-RAO
    a Washington corporation                            )
 11                                                     )   DEFENDANT MATTHEW STORMAN’S
                             Plaintiff(s),              )   RESPONSE TO COURTS IN CHAMBERS
 12                                                     )   ORDER
          vs.                                           )
 13                                                     )
    MATTHEW STORMAN, an individual, JOHN                )   Date: August 3, 2021
 14 DOES 1-10, individuals and/or corporations,         )   Time: 10:00am
                                                        )   Ctrm:
 15                                                     )
                                Defendant(s).           )
 16                                                     )
                                                        )
 17                                                     )
                                                        )
 18

 19          Comes this day, Defendant Matthew Storman (“Defendant”), proceeding pro se, and
 20 pursuant to this Court’s In Chamber’s Order, entered July 8th, 2021 (ECF 81), who hereby asserts

 21 that this Court properly concluded that the Plaintiff’s request for a permanent injunction should

 22 have been denied and does not merit reconsideration.

 23          As the United States Court of Appeals for the Ninth Circuit recently held in a case involving
 24 identical claims by, the Court correctly dismissed the Lanham Act claims. Slep-Tone Entm’t Corp.

 25 v. Wired for Sound Karaoke & DJ Servs., LLC, 845 F.3d 1246, 1248-50 (9th Cir. 2017) (citing

 26 DastarCorp.v. Twentieth Century Fox Film Corp., 539 U.S. 23, 31-34 (2003)).

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  1          “The copyright owner is entitled to recover the actual damages suffered by him or her as a

  2 result of the infringement, and any profits of the infringer that are attributable to the infringement

  3 and are not taken into account in computing the actual damages. In establishing the infringer's

  4 profits, the copyright owner is required to present proof only of the infringer's gross revenue, and

  5 the infringer is required to prove his or her deductible expenses and the elements of profit

  6 attributable to factors other than the copyrighted work.” 17 U.S.C. § 504(b).

  7          Congress explicitly provides for two distinct monetary remedies — actual damages and

  8 recovery of wrongful profits. These remedies are two sides of the damages coin — the copyright

  9 holder's losses and the infringer's gains. "Actual damages are usually determined by the loss in the

 10 fair market value of the copyright, measured by the profits lost due to the infringement or by the

 11 value of the use of the copyrighted work to the infringer." McRoberts Software, Inc. v. Media 100,

 12 Inc., 329 F.3d 557, 566 (7th Cir.2003); see also Mackie v. Rieser, 296 F.3d 909, 914 (9th

 13 Cir.2002) (approving of recovery of reasonable license fee).

 14          To take away incentives for would-be infringers and "to prevent the infringer from unfairly

 15 benefitting from a wrongful act," the statute also provides for the recovery of wrongfully obtained

 16 profits resulting from the infringement. H.R.Rep. No. 94-1476, § 504, at 161 (1976), reprinted in

 17 1976 U.S.C.C.A.N. 5659, 5777; cf. Frank Music Corp. v. Metro-Goldwyn-Mayer, Inc., 772 F.2d

 18 505, 517 (9th Cir.1985) ("Frank I") (interpreting the Copyright Act of 1909). These profits can be

 19 direct or indirect. Profits indirectly gained from infringements used in promotional efforts, as is the

 20 case here, fall squarely within the rubric of wrongful profits. See generally, Andreas v. Volkswagen

 21 of Am., Inc., 336 F.3d 789 (8th Cir.2003); Bouchat v. Baltimore Ravens Football Club, 346 F.3d

 22 514 (4th Cir.2003); Mackie, 296 F.3d at 914; On Davis v. The Gap, Inc., 246 F.3d 152 (2d

 23 Cir.2001); Cream Records Inc. v. Jos. Schlitz Brewing Co., 754 F.2d 826, 828 (9th Cir.1985).

 24          Under § 504(b), actual damages must be suffered "as a result of the infringement," and

 25 recoverable profits must be "attributable to the infringement." From the statutory language, it is

 26 apparent that a causal link between the infringement and the monetary remedy sought is a predicate

 27 to recovery of both actual damages and profits. We take this opportunity to reaffirm the principle

 28 that a plaintiff in a § 504(b) action must establish this causal connection, and that this requirement is

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  1 akin to tort principles of causation and damages. See Mackie, 296 F.3d at 915 & n. 6, 916-17

  2 (applying tort principles to evaluate the claim for indirect profits and assessing the quantum of

  3 actual damages).

  4          Under 17 U.S.C. § 504(a) and (c), a copyright owner may elect to recover statutory damages

  5 instead of actual damages and any additional profits. Ordinarily, we review an award of statutory

  6 damages for abuse of discretion. See Frank Music Corp. v. Metro-Goldwyn-Mayer, Inc., 772 F.2d

  7 505, 520 (9th Cir.1985).

  8          Title 17 U.S.C. § 412(2) leaves no room for discretion, however. Section 412(2) mandates

  9 that, in order to recover statutory damages, the copyrighted work must have been registered prior to

 10 commencement of the infringement, unless the registration is made within three months after first

 11 publication of the work. See id. (Precluding an award of attorneys' fees as well); Polar Bear Prods.,

 12 Inc. v. Timex Corp., 384 F.3d 700, 707 n. 5 (9th Cir.2004).

 13          With respect to the text, we are guided by the courts that have interpreted § 412 in similar

 14 factual contexts. As one court has concluded, while [e]ach separate act of infringement is, of course,

 15 an "infringement" within the meaning of the statute, and in a literal sense perhaps such an act might

 16 be said to have "commenced" (and ended) on the day of its perpetration[,] ... it would be peculiar if

 17 not inaccurate to use the word "commenced" to describe a single act. That verb generally

 18 presupposes as a subject some kind of activity that begins at one time and continues or reoccurs

 19 thereafter.Singh v. Famous Overseas, Inc., 680 F.Supp. 533, 535 (E.D.N.Y.1988); accord Parfums

 20 Givenchy, Inc. v. C & C Beauty Sales, Inc., 832 F.Supp. 1378, 1394

 21 (C.D.Cal.1993) (quoting Singh, 680 F.Supp. at 535); Mason v. Montgomery Data, Inc., 741 F.Supp.

 22 1282, 1286 (S.D.Tex.1990) ("The plain language of the statute does not reveal that Congress

 23 intended to distinguish between pre and post-registration infringements.").

 24          Under the Copyright Act, “[c]opyright protection subsists . . . in original works of

 25 authorship fixed in any tangible medium of expression . . . [including] motion pictures.” 17 U.S.C. §

 26 102(a). That fixation must be done “by or under the authority of the author.” 17 U.S.C. § 101.

 27 Article 1, Section 8 of the U.S. Constitution provides that copyrights “promote the Progress of

 28 Science and useful arts.”

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  1          Hence, the “Framers intended copyright itself to be the engine of free expression. By

  2 establishing a marketable right to the use of one’s expression, copyright supplies the economic

  3 incentive to create and disseminate ideas.” Harper & Row Publishers, Inc. v. Nation Enters., 471

  4 U.S. 539, 558 (1985); see also Eldred v. Ashcroft, 537 U.S. 186, 219 (2003) (noting that

  5 “copyright’s purpose is to promote the creation and publication of free expression”) (emphasis in

  6 original). In keeping with copyright’s function, “the justification of the copyright law is the

  7 protection of the commercial interest of the []author. It is not to . . . protect secrecy, but to stimulate

  8 creation by protecting its rewards.” Salinger, 607 F.3d at 81 n.9 (quoting New Era Publ’ns Int’l,

  9 ApS v. Henry Holt &Co., 695 F. Supp. 1493, 1526 (S.D.N.Y. 1988)).

 10          An “original work[] of authorship,” 17 U.S.C. § 102(a), requires only copyrightable subject

 11 matter and a “minimal degree of creativity.” Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S.

 12 340, 345 (1991). The work is “fixed” when it is “sufficiently permanent or stable to permit it to be

 13 perceived, reproduced, or otherwise communicated for a period of more than transitory duration.”

 14 17 U.S.C. § 101. And at that moment, the “author or authors of the work” instantly and

 15 automatically acquire a copyright interest in it. 17 U.S.C. § 201(a). This isn’t exactly String Theory;

 16 more like Copyright 101.

 17          In Herb Reed Enterprises, LLC v. Florida Entertainment Management, Inc., the Ninth

 18 Circuit reaffirmed that “[e]vidence of loss of control over business reputation and damage to

 19 goodwill [can] constitute irreparable harm,” so long as there is concrete evidence in the record of

 20 those things. 736 F.3d 1239, 1250 (9th Cir. 2013).

 21          The Copyright Act permits a copyright owner to elect an award of statutory damages in lieu

 22 of actual damages and profits. 17 U.S.C. § 504(c)(1) (“Section 504(c)(1)”). Section 504(c)(1)

 23 permits an owner to recover “an award of statutory damages for all infringements involved in the

 24 action, with respect to any one work, for which any one infringer is liable individually, or for which

 25 any two or more infringers are liable jointly and severally.” Id. Section 504(c)(1) limits statutory

 26 damages awards to $150,000 for willful infringement and $30,000 for innocent infringement. Id. §

 27 504(c)(1), (2). “The number of awards available under this provision depends not on the number of

 28 separate infringements, but rather on (1) the number of individual ‘works’ infringed and (2) the

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  1 number of separate infringers.” Friedman v. Live Nation Merch., Inc., 833 F.3d 1180, 1189– 90 (9th

  2 Cir. 2016).

  3          The Plaintiffs can obtain a preliminary injunction where they establish four factors: “(1) that

  4 [they are] likely to succeed on the merits, (2) that [they are] likely to suffer irreparable harm in the

  5 absence of preliminary relief, (3) that the balance of equities tips in [their] favor, and (4) that an

  6 injunction is in the public interest.” Id. at 788- 89 (quoting Winter v. NRDC, 555 U.S. 7, 22 (2008)).

  7          In the instant case, there is no legitimate, admissible evidence, that the Court can reasonably

  8 construe to cause it to believe that Plaintiff, Nintendo, sustained any actual damages whatsoever as

  9 a result of any of the Defendant’s actions or inactions.

 10

 11                               DEFENDANT’S SANCTION PAYMENT

 12 The Defendant has made every attempt to comply with the court’s order, the Defendant was unable

 13 to make the payment due to unexpected expenses that the Defendant incurred caused by a car crash

 14 that he was in. On July 7th, 2021 the defend made a $100 dollar payment into account number

 15 ending in 6532 that was provided to the Defendant by the Plaintiffs attorney.

 16

 17                                              CONCLUSION
 18          WHEREFORE, Defendant Matthew Storman, hereby asserts that this Court properly
 19 concluded that the Plaintiff’s request for a permanent injunction should have been denied and does

 20 not merit reconsideration.

 21          DATED: July 15, 2021
 22                                                                   /s/ Matthew Storman
                                                                      Matthew Storman
 23                                                                   1601 E Ruddock St.
                                                                      Covina, CA 91724
 24                                                                   (626) 833-6327
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 25

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  1                           DECLARATION OF MATTHEW STORMAN

  2          I, the undersigned, being of sound minds and competent to testify as to the truthfulness of

  3 the statements made hereinabove, after being duly sworn, under the pains and penalties of perjury,

  4 hereby certify that I have read the foregoing document, and hereby affirm that I have personal

  5 knowledge of the facts therein, and to the best of my knowledge, information, and belief, the

  6 foregoing is true and correct.

  7          I understand that I am swearing or affirming under oath to the truthfulness of the claims

  8 made in this motion and that the punishment for knowingly making a false statement includes fines

  9 and/or imprisonment.

 10         DATED: July 15, 2021

 11
                                                                   /s/ Matthew Storman
 12                                                                Matthew Storman
                                                                   1601 E Ruddock St.
 13                                                                Covina, CA 91724
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 14                                                                matthewstorman@gmail.com

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  1                                    CERTIFICATE OF SERVICE

  2         I, the undersigned, hereby certifies that on the 15th day of July 2021, that a true and complete

  3 copy of the foregoing motion was served via the ECF/CM system, upon:

  4
                                   Katherine M. Dugdale, Bar No. 168014
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 13
                                           Attorneys for Plaintiff
 14                                       Nintendo of America Inc.

 15
            DATED: July 15, 2021
 16                                                                /s/ Matthew Storman
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